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       8                                  UNITED STATES DISTRICT COURT

       9                                 SOUTHERN DISTRICT OF         ~LIFORNIA
      10                                    September 2013 Grand Jury
      11        UNITED STATES OF AMERICA,                    Case No.        1 4 CR 3 7 0 3 J LS
      12                            Plaintiff,               INDl•CTMENT                                     ~1

      13             v.                                      ~i~l: la~~-~-~-~ Sec. 286 - J
                                                             Conspiracy To Defraud the United
      14        NEIL PETERSON ( 1) ,                         States with Respect to Claims;
                LINDA RAJA ( 2) ,                            Title 18, U.S.C., sec. 1349 -
      15        PORNPUN SETTAPHAKORN (3),                    Conspiracy To Commit Wire Fraud;
                  aka "Yin",                                 Title 18, U.S.C., Sec. 287 - False
      16                                                     Claims; Title 18, u.s.c., Sec.·2 -
                                 Defendants.                 Aiding and Abetting; Title 18,
      17                                                     U.S.C., Sec. 981(a) (1) (c), and
                                                             Title 28, U.S.C., sec. 246l(c) -
      18                                                     Criminal Forfeiture
         lt------------------_J
      19     The grand jury charges:

      20                                     INTRODUCTORY ALLEGATIONS

      21             A.     GDMA and its Employees

      22             1.     Glenn    Defense      Marine    (Asia)     ("GDMA")    was         a   corporation

      23        headquartered       in   Singapore,       with    operating     locations          in   Japan,

      24        Thailand,     Malaysia,        Korea,      Hong      Kong,    Indonesia,           Australia,

      25        Philippines, and the United States.               GDMA's main business involves the

      26        "husbanding" of marine vessels, a service it had provided across Asia

      27        under various contracts with the· U.S. Navy for over 25 years.                              "Ship-~

      28        husbanding"    involves     the    coordinating,       scheduling,       and       direct    and

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   •,




         1   indirect      procurement        of      items        and    services          required        by    ships       and

         2   submarines when those vessels arrive at port.                                  Examples of these items

         3   and   services         include    tugboats;            fenders;         port     authority          or    customs

         4   fees; security; food;            fuel; water; trash removal; collection, holding,

         5   and transfer of liquid waste ("CHT"); and transportation.

         6         2.      Leonard Glenn Francis was a                         citizen of. Malaysia.                   Francis

         7   was the owner, President and CEO of GDMA.

         8         3.      Defendant         NEIL          PETERSON        was       a      citizen     of       Singapore.

         9   PETERSON was the Vice President of Global Operations for GDMA.

        10         4.      Defendant LINDA RAJA was a citizen of Singapore.                                           RAJA was

        11   GDMA' s    General Manager for Singapore,                         Australia,          and Pacific          Isles.

        12   Prior to being promoted into this position,                                   RAJA was GDMA' s            Country

        13   Manager for Operations.

        14         5.      Defendant PORNPUN SETTAPHAKORN,                           aka "Yin", was a citizen of

        15   Thailand.        YIN was GDMA' s Country Manager for Thailand, Cambodia,                                         and

        16   Vietnam, working primarily from GDMA offices in Bangkok, Thailand.

        17         B.      GDMA's Contracts with the U.S. Navy

        18         6.      The      u. s.    Naval         supply       Systems          Command      ( "NAVSUP")        is     a

        19   command within the U.S.                 Navy responsible                 for    the global supply and

        20   delivery of goods and services to U.S. Navy personnel and warfighting

        21   assets.          The     U.S.     Navy         Fleet        Logistics          Centers         ( "FLCs")         are

        22   subordinate       commands       of     NAVSUP.             The    FLCs       are   located         in    various

        23   domestic and foreign locations and provide logistics support for naval

        24   installations and vessels operating in their areas of responsibility.

        25   NAVSUP     FLC   commands        are         responsible          for    soliciting,        awarding,            and

        26   overseeing       contracts        for         goods    and        services,         including        for     ship

---~·-7-     Jruabanding         NAllSIIE_FI.C      j n    Yakos.uka.,_J_apan_(-".ELC Yokos.uka"-)                    directJ.¥--~

        28   supports    naval       installations            and       vessels          operating     in    Japan,       Hong
                                                                    2
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     1   Kong, and Russia.                   FLC Yokosuka also oversees the operations of an FLC

     2   detachment              in    Singapore          ( "FLC   Singapore") ,           which       directly      supports

     3   naval         installations                and     vessels         in     Singapore,            Indonesia,         the

     4   Philippines, Thailand, Cambodia, Vietnam, Australia, and elsewhere.

     5           7.         In or about Summer 2011, NAVSUP awarded GDMA three contracts

     6   to provide husbanding services to U.S.                                  Navy ships and submarines at

     7   ports        throughout             Southeast       Asia        (Region     2),    Australia          and    Pacific

     8   Isles (Region 3), and East Asia (Region 4).

     9           8.         The Region 2 contract was structured with a first-year base

    10   value of $25 million,                      with options to extend the contract for up to

    11   four additional years,                     for a      total base value of over $125 million.

    12   The     Region           2     contract          provided         for     pricing        of     different         ship

    13   husbanding services as follows:

    14                      a.        Fixed Price Items.                  For each port,           GDMA and the            u. S.
    15   Navy agreed to fixed prices for various specified services.

    16                      b.        Incidentals.                 The       contract         also        provided          for

    17   "Incidentals,"                or i terns     that     fall       within the        general       scope of         ship

    18   husbanding services but were not enumerated as fixed price items.                                                  For

    19   these        items,          GDMA    was    generally            required     to    obtain       at    least       two

    20   competitive quotes                   for    the service and provide those                        quotes      to    the

    21   U.S.    Navy.            GDMA was allowed to submit its own quote as one of the

    22   competitive market                   quotes,       but     in    its    quote,      GDMA was          required      to

    23   disclose any profit or markup.                             GDMA would also submit an Authorized

    24   Government              Representative            Form     ( "AGR       Form")      in    which       GDMA     would

    25   recommend a particular source.                            After receiving the quotes and the AGR

    26   Form,        the    U.S.        Navy       would     select        which     vendor       to     use     for      each

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      1                 c.      Fuel.      Fuel was a subtype of Incidentals.                    Under the
      2 Region 2 contract,              if GDMA arranged for the acquisition of fuel,                        it
      3 was       required     to   bill    the   U.S.   Navy     for   the     fuel's       actual   costs,
      4   without markup; GDMA received a separate fixed fee for its efforts in
      5   arranging for the acquisition of the fuel.

      6                 d.      Port Tariff Items.            Under the Region 2 contract,                "Port
      7   Tariff Items" were ship husbanding services provided by a bona fide
      8   Port Authority         and      charged at     "Port   Tariff    Rates"          established     and
      9   controlled by the Port Authority.                   For any of these services rendered
     10   to U.S. Navy vessels in port, GDMA was required to bill the U.S. Navy
     11   for the actual costs paid to the Port Authority, without markup.
     12           9.    In connection with the Region 2 contract, at the conclusion
     13   of each port visit, GDMA submitted to U.S. Navy personnel on the ship
     14   a claim for payment -- typically consisting of a series of invoices
     15   and supporting documentation -- for all the ship husbanding services
     16   rendered to the U.S. Navy vessel during the port visit.
     17                 Count 1 - Conspiracy To Defraud the United States

     18                         with Respect to Claims (18          u.s.c.      §   286)

     19                                     [Against All Defendants]
     2O                                           THE CONSPIRACY
     21           10.   Beginning in or about September 2011,                   and continuing to in
     22   or about September 2013, on the high seas and outside the jurisdiction
    23    of any particular district,              defendants,      NEIL PETERSON            ("PETERSON") ,
    24    LINDA RAJA         ("RAJA") ,    PORNPUN SETTAPHAKORN,          aka       "Yin",    ("YIN") ,    and
    25    others knowingly and intentionally conspired and agreed to defraud the
    26    United States by obtaining and aiding to obtain the payment of false,

~~~~~·fictitious,            and fraudulent claims.

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    1                          METHODS AND MEANS OF THE CONSPIRACY
    2           11.   In   furtherance   of   this       conspiracy,   and to accomplish   its
    3 objects, the following methods and means were used, among others:
    4                 a.    PETERSON, RAJA, YIN, and others would submit and cause
    5 to be submitted to the U. s.            Navy fraudulent quotes for Incidentals,
    6 purporting to be from prospective subcontractors.
    7                 b.    PETERSON, RAJA, YIN, and others would submit and cause
    8   to be submitted to the U.S. Navy fraudulent representations related to
    9 the       acquisition     of    fuel,    purporting        to    be   from   prospective
   10   subcontractors,        including      fraudulent        representations    about   the
   11 unavailability in certain countries of the type of fuel required by
   12   U.S.    Navy vessels,     as well as     fraudulent       representations about    the
   13   source and actual cost of the fuel provided by GDMA to the U.S. Navy
   14 vessels.
   15                 c.    PETERSON, RAJA, YIN, and others would submit and cause
   16   to be submitted to the U. s. Navy fraudulent invoices for Port Tariff
   17   Items, purporting to be from bona fide Port Authorities.
   18                 d.    PETERSON, RAJA, YIN, and others would submit and cause
   19   to be submitted to the U.S.            Navy false,       fictitious,   and fraudulent
   20   claims for the purpose of obtaining and aiding to obtain the payment
   21   for the ship husbanding services rendered to U.S. Navy vessels during
   22   port visits, which claims included, depending on the port visited and
   23   U. s.   Navy vessel,    fraudulent representations related to Incidentals,
   24   Fuel, and Port Tariff Items.
   25 All in violation of Title 18, United States Code, Section 286.

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 1            Count 2 - Conspiracy To Commit Wire Fraud (18                           u.s.c.    §    1349)
 2                                       [Against All Defendants]
 3         12.    Paragraphs         1    to     9    above       are    re-alleged     and     incorporated
 4   herein.
 5                                               THE CONSPIRACY
 6         13.    Beginning in or about September 2011,                           and continuing to in
 7   or about September 2013, on .the high seas and outside any particular

 8 district' defendants NEIL PETERSON ("PETERSON") ' LINDA RAJA ("RAJA") '
 9   PORNPUN SETTAPHAKORN,               aka    "Yin",          ("YIN") ,    and others       knowingly and
10   intentionally conspired and agreed to commit the offense of wire fraud
11   -- that is, to knowingly devise and intend to devise a material scheme
12   and artifice to defraud and to obtain money and property from the U.S.
13   Navy by means         of   materially             false       pretenses,      representations,             and
14   promises, and for the purpose of executing this scheme and artifice to
15   defraud,     to transmit and cause to be                           transmitted by means             of wire
16   communication in interstate and foreign commerce,                                 certain writings,
17   signs,    signals,    and sounds,               in violation of Title 18,                 United States
18   Code, Section 1343.
19                          METHODS AND MEANS OF THE CONSPIRACY
20         14.    In furtherance           of        this   conspiracy,          and to accomplish its
21   objects, the following methods and means were used, among others:

22                a.      PETERSON, RAJA, YIN, and others would submit and cause
23   to be submitted to the U.S.                     Navy fraudulent quotes for Incidentals,
24   purporting to be from prospective subcontractors.
25                b.      PETERSON, RAJA, YIN, and others would submit and cause
26   to be submitted to the U.S. Navy fraudulent representations related to
     the   acquisition.         of       fuel,        J;Luri;iorting        to   be    from         J;2r.Q.SJ;Lective
28   subcontractors,        including            fraudulent              representations            about       the
                                                            6
              Case 3:14-cr-03703-JLS Document 1 Filed 12/23/14 PageID.437 Page 7 of 9




     1 unavailability in certain countries of the type of fuel required by
     2 U.S.       Navy vessels,      as well as          fraudulent         representations about          the
     3   source and actual cost of the fuel provided by GDMA to the u. S. Navy
     4 vessels.
     5                  c.   PETERSON, RAJA, YIN, and others would submit and cause
     6   to be submitted to the U. s. Navy fraudulent invoices for Port Tariff
     7   Items, purporting to be from bona fide Port Authorities.
     8                  d.   PETERSON, RAJA, YIN, and others would submit and cause
     9   to be submitted to the U.S. Navy fraudulent claims for the purpose of
    10   obtaining and aiding to obtain the payment for the ship husbanding
    11 services         rendered   to     U. S:   Navy        vessels      during     port   visits,     which
    12   claims included, depending on the port visited and U.S. Navy vessel,
    13 materially false pretenses,                representations,            and promises related to
    14   Incidentals, Fuel, and Port Tariff Items.
    15           15.    In   furtherance          of     their           fraudulent     conspiracy,        the
    16   defendants would cause wire communications to be sent and received in
    17   interstate and foreign commerce,                     and reasonably foresaw the use of
    18   such      interstate       and       foreign             wire     communications,         including
   19    communications among GDMA and various individuals and entities within
   20    the U. s.      Navy for the purposes of:                  (1)   discussing and responding to
    21   logistics requests placed by             u.s    Navy vessels;         (2) providing port cost
    22   estimates;      (3) uploading quotes for Incidentals;                      (4) providing pricing
   23    for     Port    Tariff    Items;     and       (5)       obtaining    payment       for   the   ship
   24    husbanding services rendered by GDMA to U.S. Navy vessels.
   25    All in violation of Title 18, United States Code, Section 1349.

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     1                                   Counts 3-11       -    False Claims (18            u.s.c.       §   287)

     2                     16.     Paragraphs 1 through 9 above are re-alleged and incorporated

     3     herein.

     4                     17.    On     or     about     the        dates       listed    below       in     Column         "A,,,     the

     5     defendants charged below in Column "B11 made and presented and caused

     6     to be made and presented to U.S. Navy personnel the claim for payment

     7     listed                below    in         Column      "C,,,    knowing         such       claim        to      be     false,

     8     fictitious, and fraudulent:

     9
                            "A" - Date                                                         "C" Claim -
    10                         Claim           U.S.                                         Consisting of GDMA
            Count           Presented          Navy           Port               "B" -        Invoices and
                                                                                               Supporting                Total Amount
    11                                        Vessel                     Defendant ( s)
                                                                                              Documentation              of the Claim
                                                                                           MS000147, MS000148,
    12                                                                                     MS000149, MS000150,
                                                                                           MS000151, MS000152,
    13                                                                                     MS000153, MS000154,
                                               USS        Lumut,             Peterson,        MS000154{A),
               3            10/06/2011    Defender       Malaysia              Raja              MS000155                 $108, 776. 43
    14                                                                                          PH001115,
                                               USS      Subic Bay,           Peterson,     PH001116,PH001117A,
    15         4            10/24/2011        Denver    Philippines              Raja           PH001118,                 $109,235.03
                                                                                           TH001116, TH001117,
    16                                                                                     TH001118, TH001119,
                                                                                           TH001120, TH001121,
                                                           Laem                            TH001122, TH001123,
    17                                         USS       Chabang,                          TH001126, TH001130,
               5            11/02/2011        Mustin     Thailand            Raja, Yin          TH001131,                $2,834,554.49
    18                                                                                     TH001142, TH001143,
                                                                                           TH001144, TH001145,
    19                                         USS       Phuket,                           TH001146, TH001147,
              6             11/14/2011        Dewey      Thailand            Raja, Yin           TH001149                 $181,783.98
                                                                                           TH001132, TH001133,
    20                                                                                     TH001134, TH001135,
                                               USS       Phuket,                           TH001136, TH001137,
    21        7             11/14/2011    Pinckney       Thailand            Raja, Yin           TH001138                 $234,069.91
                                                                                               IN0000403,
    22                                         USS         Bali,                               IN0000404,
              8             11/23/2011        Essex      Indonesia           Peterson           IN0000405                 $897,355.68
                                                                                           TH001202, TH001203,
    23                                                                                     TH001204, TH001205,
                                               USS        Laem                             TH001206, TH001207,
    24                                     Abraham      Chabang,                           TH001208, TH001210,
              9             01/10/2012     Lincoln      Thailand                 Yin             TH001214                 $883,919.99
    25                                                    Laem
                                          USS Blue      Chabang,                            TH01320, TH01321,
              10            05/24/2012     Ridge        Thailand                 Yin        TH01323, TH01326            $1,718,777.98
    26
                                               USS        Kot a
                                             Bonhomme   Kinabalu,                         MS000340, MS000341,
    27   . -1---4-:b-- -:l,9-~6-/.;>.0-lc2- -R-i-efla-Ri- h---Ma~·Yfri-a- --Pet-e·rsen-- -M&600-3-4%;-M1HHJB'l·4-'<- H-1-,2'3-278·5-870"'1- -

    28    All in violation of Title 18, United States Code, Sections 287 and 2 .
                                                                             8
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             1                                              FORFEITURE ALLEGATIONS

             2                18.    The allegations set forth in Paragraphs 1 through 9 and 12
             3        through 15 of this Indictment are herein incorporated by reference for
             4        the purpose of alleging forfeiture pursuant to Title 18, United States

             5        Code,     Section       98l(a) (1) (c),        and       Title    28,   United         States    Code,

             6 Section 246l(c).
             7                19.    Pursuant to Federal Rule of Criminal Procedure 32. 2, notice
             8        is hereby given to the above-named defendants that the United States
             9 will           seek     forfeiture       as    part    of       any   sentence     in   accordance       with
            10        Title 18,        United      States    Code,    Section        98l(a) (1) (c),        and Title    28,
            11 United States Code, Section 246l(c), including but not limited to all
            12        property,        real   or    personal,        which      constitutes      or    is    derived    from
            13        proceeds traceable to a                conspiracy to commit wire fraud as alleged in

            14        this Indictment.
            15 All pursuant to Title 18,                       United States Code,              Section 98l(a) (1) (c),

            16        and Title 28, United states Code, Section                        246l(c)~·:.-~~~~~-

            17                DATED:     December 23, 2014.                              E BILL:

            18
            19
            20
            21
                               srj ~~-~-'
                      LAURA E. DUFFY

                      ::~ted
                              MARK W. PLETCHER
                              ROBERT S. HUIE
            22
                              Assistant U.S. Attorneys
            23
                      WILLIAM STELMACH
            24        Acting Chief, Fraud Section
                      Criminal Division
            25
            26        By:     ~~~\//
                                T~VTAw/       r      MV'\/
            27                BRIAN R. YOUNG/
                              Trial Attorneys
            28                Fraud Section, Criminal Division
                                                                           9
